PHOEN|X, AR|ZONA 85018
(602) 840-1400

BALL, SANT|N & MCLERAN, P.L.C.
2999 NORTH 44"' STREET, SU|TE 500

\OOO\!O\U\-l>b)l\)

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26

 

 

Case 2:15-CV-02066-.].]T Document 118 Filed 12/18/18 Page 1 of 4

James E. Shively, 11712

BALL, SANTIN & MCLERAN, P.L.C.
2999 North 44"‘ Street, Suite 500
Phoenix, Arizona 85018

(602) 840-1400 - Telephone

(602) 840-4411 - Facslmile
Shively@bsmglc.com

Attomeys for Gamishee

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF ARIZONA

BRITTANY EVERTS, an individual, §

 

Plaintiff(s)/ ) NO. 2:-15-CV-02066-PHX-JJT
Judgment Creditor(s), §
vs. )
) ANSWER TO WRIT OF
SUSHI BROKERS, LLC, g GARNISHMENT
Defendant(s)/ ) (Non-Earnings)
Judgment Debtor(s). §
BANK OF AMERICA, N.A., §
Garnishee. )

)
Bank of America, N.A. (hereinafter "Garnishee"), by and through undersigned

 

counsel, answers the Writ of Garnishment served on December 12, 2018, as follows:

1. Gamishee states that at the time of service of the Writ, there stood upon its
books the following account(s):

m Mm@

Sushi Brokers, LLC $6,654.32

2. Garnishee is holding the amount of $6,379.32 subject to the orders of the
Court. 'l`his amount is the remaining after setting off the Garnishee’s processing fee of
$125.00 and the Gamishee’s attorneys’ fees of $ l 50.00, pursuant to the Deposit Agreement

and Disclosures.

 

BALL. SANT|N 81 MCLERAN, P.L.C.
2999 NORTH 44TH STREET. SU|TE 500

PHOEN|X, AR|ZONA 850‘18

(602) 840-1400

10
ll
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26

 

 

Case 2:15-cV-02066-.].]T Document 118 Filed 12/18/18 Page 2 of 4

3. Garnishee further states that, except as stated above, at the time of service of
said writ in Maricopa County, (I) it was not indebted to Judgment Debtor(s) in any amount;
(ii) it did not have any personal property of Judgment Debtor(s) in its possession', (iii) it
does not know of any person(s) who are indebted or have personal property belonging to
Judgment Debtor(s); and (iv) that Judgment Debtor(s) does not own any shares of the
capital stock of the Garnishee or have any other interest in Garnishee.

4. Garnishee’s address and telephone number are:

Bank ofAmerica, N.A.

800 Samoset Drive

Newark, Delaware 19713
Attention: Customer Service
Telephone: 213-580-0702

5. Garnishee mailed copies of the Writ and Surnmons, the underlying Judgrnent,
the Notice to Judgment Debtor(s), and the Request for Hearing on December 12, 2018, to
Judgment Debtor(s) at the following address:

Sushi Brokers, LLC
17025 N. Scottsdale Road, Suite 190
Scottsdale, Arizona 85255

WHEREFORE, Garnishee respectfully requests that the Court enter such orders as

are proper and that the Court discharge Garnishee on the answer.

DATEDrhiS g$`/ day oft)ecember, 2013.
BALL, sANTIN & MCLERAN, P.L.C.

B,, /l§<,;

0J'al§esE h1 ely

 

29 9 N rth ‘h Street, Suite 500
Ph enix, 1 ona 85018
Attomeys fo Bank of America, N.A.

Cop ofthe foregoing mail d
via lrst class mail this
day ofDecember, 2018, to:

 

BAL.L SANT|N 81 MCLERAN P L C
2999 NORTH 44"' STREET, SU|TE 500

PHOEN|X, AR|ZONA 850‘18

(602) 840-1400

\OOO‘---]O\

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26

 

 

Case 2:15-cV-02066-.].]T Document 118 Filed 12/18/18

Nisah Noroian

Michael Pulton

Pulton & Noroian, PLLC
4601 N. 7"‘ Ave., Suite 100
Phoenix, Arizona 85013

Sushi Brokers, LLC
17025 N. Scottsdale Road, Suite 190
Scottsdale, Arizona 85255

S:\GLW\BA\GARN|SI'|M EN`I`S\Answers\l 805.02 |\5500\5745.Sush1 Brokcrs`wpd

Page 3 of 4

 

PHOENIX. ARIZONA 850‘18
(602) 840-1400

BALL SANTIN & MCLERAN, P.L.C.
2999 NORTH 44“" STREETl SU|TE 500

\DQQ-JO\Lh-l>.wm._.

NNNNN[\JNc-»»-lr-¢p-»»-\»-¢»-a»-n»_a¢_¢
c\c.n-l>.wN--o\c)oo-.)_o\m.hwm--c>

 

 

Case 2:15-cV-02066-.].]T Document 118 Filed 12/18/18 Page 4 of 4

VERIFICATION
STATE OF DELAWARE )
) ss.
County of New Castle )

Jose Guina, being first duly sworn, deposes and says that he is an Associate of Bank
of America, N.A. and as such has read the foregoing Answer to Writ of Gamishment, knows the

contents therein made on information and belief, which statements he believes to be true.

LL

JosE GUINA /

Subscribed and sworn to (or affirmed) before me this g day of December, 2018,
by Jose Guina, proved to me on the basis of satisfactory evidence to be the person who appeared

before me. `
011/10 w @ D(/Zrza

Notary Ulblic

My Commission Expires:

517/ao

 

l' onvsr.a¢_ rt oEzzi
i NoTAaY ensue

3 .F\TE OF DELAWAHE
My Commission Expires May 7, 2020

_ 111

 

S:\GLW\BA\GAR.NISHMENTS\Answers\l 805.02] 15500\5745.Sushi Brokers'.wpd

 

